      Case 1:22-cv-01991-MHC            Document 6        Filed 07/12/22      Page 1 of 4
                                                                          FILED IN CLERK'S OFFICE
                                                                          ~    U.S.O.C. -Atlanta

                    IN THE UNITED STATES DISTRICT COURT                               JUL 12 2022
                   FOR THE NORTHERN DISTRICT OF GEORGIA                          KEV~EIMER, Clerk
                              ATLANTA DIVISION                                  By:   (Y/
                                                                                        Deputy Clerk




CHARLES L VONS,
                                                 I
      Plaintiff,                                 I
                                                 I        CIVIL ACTION FILE
 v.                                              I        NO. 1:22-CV-1991-MHC
                                                 I
                                                 I
ELITE STREET CAPITAL, LLC,                       I
    Defendant.                                   I


      AMENDED COMPLAINT AND RESPONSE TO ORDER REGARDING
                 SUBJECT MATTER .JURISDICTION



                                        1. INTRODUCTION

Plaintiff would like to amend the action brought against Elite Street Capital LLC ("Elite
Street"), asserting that Defendant has breached the Master Agreement lease contract
entered between the parties. In the Complaint, Plaintiff alleges that this Court has subject
matter jurisdiction based on diversity of citizenship under 28 U.S.C. § 1332. That
statutory provision states that "[t]he district courts shall have original jurisdiction of all
civil actions where the matter in controversy exceeds the sum or value of $75,000,
exclusive of interest and costs, and is between - ... citizens of a State and citizens or
subjects of a foreign state, except that the district courts shall not have original
jurisdiction under this subsection of an action between citizens of a State and citizens or
subjects of a foreign state who are lawfully admitted for permanent residence in the
United States and are domiciled in the same State." 28 U.S.C. § 1332(a)(2) (2016).

As ordered the Plaintiff is listing the citizenship of the parties list the citizenship of all of
Elite Street's members for purposes of diversity of citizenship jurisdiction. Each members
of Elite Street Capital are citizens and residents of the State of Texas. Plaintiff is also
explaining basis for the amount in controversy.


                                          2. DISCUSSION

A. Subject Matter Jurisdiction
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                                   Case 1:22-cv-01991-MHC                Document 6      Filed 07/12/22   Page 2 of 4




                        "Federal district courts are courts of limited jurisdiction under Article III, Section 2, of
                        the United States Constitution". See, e.g., Chicot Cnty. Drainage Dist. v. Baxter State
                        Bank, 308 U.S. 371, 376 (1940), reh'g denied, 309 U.S. 695 (1940).
                        The question of subject matter jurisdiction is fundamental so that a court must raise the
                        issue sua sponte, of its own accord, when the issue is not addressed by the parties.
                        Mansfield, C. &L.M. Ry. Co. v. Swan, 111 U.S. 379,382 (1884). See also Joseph v.
                        Leavitt, 465 F.3d 87, 89 (2d Cir. 2006) ("Although neither party has suggested that we
                        Jack appellate jurisdiction, we have an independent obligation to consider the presence or
                        absence of subject matter jurisdiction sua sponte. "), cert. denied, 549 U.S. 1282 (2007);
                         Univ. of S. Alabama v. Am. Tobacco Co., 168 F3d 405, 410 (11th Cir. 1999) ("[l]t is well
                        settled that a federal court is obligated to inquire into subject matter jurisdiction sua
                        sponte whenever it may be lacking.").
                        In general, a federal district court may exercise subject matter jurisdiction over an action
                        only if there is either: (1) "federal question" jurisdiction, applicable to "all civil actions
                        arising under the Constitution, laws, or treaties of the United States," 28 U.S .C. § 1331
                        (2016); or (2) there exists 2"diversity of citizenship," complete diversity of citizenship
                        between the plaintiff and all defendants and the amount in controversy exceeds "the sum
                        or value of $75,000, exclusive of interest and costs," 28 U.S.C. § 1332(a) (2016). See
                        also Strawbridge v. Curtiss, 7 U.S. 267, 267--68 (1806); Da Silva v. Kinsho /nt'l Corp. ,
                        229 F.3d 358, 363 (2d Cir. 2000) (delineating two categories of subject matter
                        jurisdiction).

                            As to list the members of Elite Street Capital, Yoni Sade is the CEO and
                            Founder/Principal of Elite Street Capital. Byron Plant is Vice President, Asset
                            Management. Katherine Shuler is Vice President, Accounting. Lorraine McCoy is Vice
                            President, Operations. Anita Suson is General Counsel. Colin Hope is Project Manager.
                            Lisa Portz-is Lease Project Manager. Jasmen Underwood is Assistant Manager. Cindy
                            Branly is Assistant Manager. Aderra Huerta is Manager.

                        All are citizens of the State of Texas and residents of the State of Texas.
                        Here, diversity jurisdiction is established as diversity jurisdiction exists between citizens
                        of different state as listed. They are deemed citizens of Texas in which it has been
                        incorporated and has its principal place of business in State of Texas and it possesses the
                        citizenship of all its members. The burden of establishing diversity of citizenship has
                        been provided.


                                                           B. ,Jurisdictional Threshold of $75,000.00

                        Here in this section the Plaintiff would like to explain how the amount in controversy is
                        asked for and why it in this case exceeds $75,000.00. Plaintiff is seeking both
                        compensatory damages and punitive damages as Defendant breached its duty of good
                        faith and fair dealing by acting unreasonably as to not properly respond and stop nor
                        mediate the mold and mildew damage while Plaintiff lived at the unit while under
                        contractual obligation to do so. Mold is the basis for litigation when occupants have been
    Case 1:22-cv-01991-MHC            Document 6        Filed 07/12/22      Page 3 of 4




harmed by exposure. The Defendant refused to resolve the issue and failed to
communicate to the Plaintiff at all concerning exposure to asbestos and mold. Thus, the
Defendant demonstrated conduct in which was intended to cause injury to the Plaintiff by
making no apparent response to multiple efforts to get mediation. This despicable
conduct which was carried out by the defendant for several months of knowledge of the
issue was therefore willful and conscious disregard of the rights and safety of the
Plaintiff." Plaintiff was oppressed as this despicable conduct subjected him to cruel and
unjust hardship in conscious disregard of Plaintiff' s rights. The Defendant would not
return any phone calls or respond to any work orders or urgent maintenance requests at
the resident portal. There was no possible way to further communicate with the
Defendant and the actions of the Defendant were deliberate and recklessly indifferent.
The Defendant should be penalized for this disregard and subjection to the mold and
mildew. The Plaintiffs' injury could have been avoided thus by the Defendant.
These punitive damages should also be awarded not to compensate injured Plaintiff but to
punish Defendant whose conduct is considered grossly negligent or intentional.

Plaintiff still suffers from severe cough bouts and frequent dizziness and vision blurriness
as a result of the mold exposure. The Plaintiff has suffered respiratory issues due to the
mold. The Plaintiff had to leave the property once the mold and mildew made the
conditions unlivable, in tum causing the Plaintiff to get an eviction. The Plaintiff' s credit
was then damaged from the eviction making it difficult to find a place to rent. This made
the Plaintiff become distraught and severely depressed and suffer from emotional and
psychological distress. The Plaintiffs' belongings inside of the unit were all damaged by
the toxic mold and had to be thrown out. Pain and suffering should be compensated as the
Plaintiff was forced to live with toxic-mold illnesses for an extended period of time prior
to complete relocation.
This is a case and concern of extreme negligence as absolutely no safety precaution was
taken to prevent the exposure to toxic mold by Elite Street. Plaintiff seeks $1,000,000 in
compensatory damages and $1 ,500,000 in punitive damages and is requested in good
faith.
Defendant made no apparent effort to even respond to the Plaintiff's request and further
notifications displaying deliberate negligence and lack of any concern. The Defendants'
reprehensible and improper conduct was the direct cause of Plaintiffs' ailment and
oppress10n.

                                        3. CONCLUSION

Accordingly, Plaintiff hereby would like to amended complaint correcting the pleading
deficiencies previously mentioned in the Complaint. It should be accepted as true that this
is the proper Court and it is has proper subject matter jurisdiction for diversity of
citizenship and the amount requested for damages to Plaintiff. Upon review of this
amended complaint, the Plaintiff asks the Court respectfully to determine that it possesses
subject matter jurisdiction, and that this action may proceed.




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    Case 1:22-cv-01991-MHC   Document 6   Filed 07/12/22   Page 4 of 4




Respectfully submitted,




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